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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

 MARISSA HENRY,                               )
                                              )
                              Plaintiff,      )
                                              )
                   v.                         )     Case No.: 4:20-cv-00040-SEB-DML
                                              )
 GAMING ENTERTAINMENT                         )
 (INDIANA) LLC. D/B/A RISING                  )
 STAR CASINO,                                 )
                                              )
                            Defendant.        )

                         ORDER OF DISMISSAL WITH PREJUDICE

         Plaintiff, Marissa Henry, and Defendant, Defendant, Gaming Entertainment (Indiana)

 LLC, have filed a Joint Stipulation of Dismissal with Prejudice.

         IT IS THEREFORE ORDERED that all claims asserted by Plaintiff, Marissa Henry, in

 this matter are dismissed with prejudice, with each party to bear its own attorneys’ fees and costs.


 Date:            3/22/2021                          _______________________________
                                                       SARAH EVANS BARKER, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana
 Copies:

 All ECF Counsel of Record
